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 8                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
 9                                           AT TACOMA

10
      UNITED STATES OF AMERICA,
11
                      Plaintiff,
                                                                  Case No. CR09-5452RJB
12
              v.
                                                                  ORDER ON MOTIONS
13
      JUAN ANTONIO TREJO PEREZ
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                      Defendant.
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             This matter comes before the court on the following three motions: 1) Motion to Return
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     Property of Defendant (Dkt. 914) filed by defendant Cresenciano Yanez-Bucio; 2) Motion to
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     Schedule Hearing Pertaining to Forfeiture of Siezed Property (sic) (Dkt. 915) filed by Jose Benitez;
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     and 3) Motion to Schedule Hearing Pertaining to Forfeiture of Property (Dkt. 916) filed by
19
     defendant Cresenciano Yanez-Bucio All of the motions were filed “pro se.”
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             The moving defendants are represented by counsel, Mr. Yanez-Bucio by John R. Crowley
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     and Jose Benitez by Thomas Scott McGarry. Although the court is aware that the defendants have
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     certain differences with their attorneys, the attorneys still represent the defendants on the record.
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     Under these circumstances, pro se motions are not appropriate.
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26   ORDER ON MOTIONS - 1
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 1           Western District of Washington Local General Rule 2 (g)(1) provides as follows:

 2           (1) Whenever a party has appeared by an attorney, the party cannot thereafter appear
             or act in his or her own behalf in the case, or take any step therein, until after the
 3           party requests by motion to proceed on his or her own behalf, certifies in the motion
             that he or she has provided copies of the motion to his or her current counsel and to
 4           the opposing party, and is granted an order of substitution by the court terminating
             the party’s attorney as counsel and substituting the party in to proceed pro se;
 5           provided, that the court may in its discretion hear a party in open court,
             notwithstanding the fact that he or she is represented by an attorney.
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             Under these circumstances, these motions should be denied without prejudice.
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             IT IS SO ORDERED
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             The Clerk of the Court is instructed to send uncertified copies of this Order to all counsel of
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     record and to any party appearing pro se at said party’s last known address.
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             DATED this 27th day of January, 2011.
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                                                   A
                                                   Robert J Bryan
                                                   United States District Judge
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26   ORDER ON MOTIONS - 2
